Case 19-12314-mdc        Doc 40   Filed 11/22/19 Entered 11/22/19 14:12:55          Desc Main
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                            UNITED STATES BANKRUPTCY COURT
                            EASTERN DISTRICT OF PENNSYLVANIA

   In re:
                                                        :      Chapter 13
   Brian Felt                                           :
                                  Debtor                :      Bankruptcy No. 19-12314-mdc

                           Order Dismissing Chapter 13 Case and
                        Directing Counsel to File Master Mailing List

          AND NOW, this              22nd           day of         November              ,
   2019 upon consideration of the Motion to Dismiss filed by William C. Miller, Standing
   Trustee,

            ORDERED, that this case is dismissed; and it is further

            ORDERED, that any wage orders are hereby VACATED; and it is further

          ORDERED, that in light of the Consent Order previously entered in this matter on June 19,
   2019 by and among the standing trustee, the debtor will be barred from filing any case for Twenty-
   Four (24) months following a dismissal without court approval, in accordance with the express terms
   of such ORDER.


                                           BY THE COURT



                                           MAGDELINE D. COLEMAN
                                           CHIEF U.S. BANKRUPTCY JUDGE
                   cc:
                   Brian Felt
                   47 N. Traymore Ave.
                   Warminster, PA 18974

                   BRAD J. SADEK
                   Sadek and Cooper
                   1315 Walnut Street
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                   Philadelphia, PA 19107

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